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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY



UNITED STATES OF AMERICA              :   Crim. No. 19-658

      v.                              :

DARRYL DANCY                          :   SUBSTITUTION OF ATTORNEY



            PLEASE TAKE NOTICE that Rachael A. Honig, Acting United States

Attorney for the District of New Jersey, has reassigned the above-captioned

matter to Sarah Sulkowski, Assistant U.S. Attorney (sarah.sulkowski@usdoj.gov),

in substitution for Sophie Reiter, Assistant U.S. Attorney, who previously

appeared in this matter.

                                           RACHAEL A. HONIG
                                           Acting United States Attorney




                                           By: SARAH SULKOWSKI
                                           Assistant U.S. Attorney


Dated: September 17, 2021
